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                            No. 24-5905
__________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
            _____________________________________________

                         CHRISTINA GROFF,
                       PLAINTIFF/APPELLANT,
                                 v.
                   KEURIG GREEN MOUNTAIN, INC.,
                       DEFENDANT/APPELLEE
     _________________________________________________________

                               On Appeal from the
        United States District Court for the Central District of California
                  The Hon. Sunshine S. Sykes, District Judge
                          No. 5:23-cv-01492-SSS-SP


         APPELLANT CHRISTINA GROFF’S OPENING BRIEF


Dated: December 6, 2024
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                          DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Appellate Procedure 26.1, Plaintiff-Appellant

Christina Groff states, by and though her counsel, that she is not a corporate entity

and therefore has no parent corporations, subsidiaries, or affiliates that have issued

shares to the public.



Date: December 6, 2024
                                        WADE KILPELA SLADE LLP


                                        /s/ Gillian L. Wade
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                                INTRODUCTION

      This class action concerns Defendant/Appellee Keurig Green Mountain,

Inc.’s (“Defendant” or “Keurig”) unlawful business practices regarding its

consumer warranties. Plaintiff/Appellant Christina Groff (“Plaintiff”) claims

Keurig’s warranty violates the Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301,

et seq. (“Magnuson-Moss” or “MMWA”) and its implementing regulations 16

C.F.R. §§ 700.1, et seq., which prohibit manufacturers from conditioning warranty

coverage on the use of only authorized repair services or parts. Keurig’s warranty

conveys to consumers that the warranty will be void if they use third-party repair

services or non-Keurig parts. This practice, known as “tying,” is forbidden by the

MMWA as it restricts consumer choice and gives manufacturers undue control

over repair markets. Plaintiff, who purchased a Keurig K-Mini Plus Coffee Maker

in July 2022, claims Keurig’s violations of the MMWA render it liable under the

“unlawful” and “unfair” prongs of California’s Unfair Competition Law, Cal. Bus.

& Prof. Code §§ 17200, et seq. (“UCL”).

      In its Order granting Defendant’s Motion to Dismiss the Second Amended

Complaint, the District Court erroneously found Plaintiff failed to demonstrate

statutory standing to sue under the UCL, on grounds she did not adequately allege

she relied on Keurig’s unlawful tying provision when purchasing her coffee maker.

Specifically, the District Court found Plaintiff did not claim that she read or was


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aware of the warranty’s unlawful tying condition before or at the time of purchase,

nor did she allege that she relied on it when deciding to pay a premium for the

product. Despite this matter involving no misrepresentations or deception, the

District Court maintained her claims still effectively sounded in fraud, which

requires showing actual reliance. The District Court concluded that Plaintiff did

not meet this standard and granted Keurig’s Motion to Dismiss. Additionally, the

District Court denied Groff leave to amend the complaint, finding she could not

cure the deficiencies in her allegations.

      As discussed more fully herein, the District Court erred in finding the

Second Amended Complaint sounded in fraud and that Plaintiff was required to

plead reliance. The District Court did not identify a single misrepresentation in this

action, as there were no allegations in the Second Amended Complaint (“SAC”)

concerning any misrepresentations or fraud. Rather, Plaintiff alleges Defendant

unlawfully conditions its Warranty on the use of only authorized repair service

and/or authorized replacement parts. There is no deception here—rather,

Defendant is violating the MMWA through warranty language that deters or

prohibits third-party repair, harming Plaintiff’s property interest in the product she

purchased.

      The absence of any fraud theory obviates the need to plead “reliance” for

purposes of standing under the UCL. There are only two elements to Plaintiff’s


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“unlawful” and “unfair” prong UCL claim: (1) whether Keurig engaged in

unlawful and/or unfair business practices (i.e., selling a product subject to a

warranty containing an unlawful tying provision) and (2) whether Plaintiff suffered

an economic injury as a result of Keurig’s unlawful and/or unfair business

practices. Plaintiff’s SAC clearly articulates Keurig’s violations of the MMWA

and demonstrates Plaintiff suffered an economic injury because she overpaid for a

product subject to unlawful tying provisions. California law recognizes the loss of

the full benefit of the bargain and diminution in value as cognizable economic

injuries sufficient to confer standing under the UCL.

      Additionally, the District Court abused its discretion by denying Plaintiff

leave to amend the complaint, failing to provide an adequate reason as required by

Ninth Circuit precedent and Rule 15’s liberal amendment standard. The District

Court’s single-sentence explanation did not address why amendment could not

cure the purported deficiencies by further making clear that Plaintiff’s claims did

not rely on a fraud theory. Even if dismissal on the merits is upheld, the refusal to

allow further amendment is reversible error, as Plaintiff demonstrated a good faith

attempt to address prior deficiencies and should be afforded an opportunity to

amend.




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                       JURISDICTIONAL STATEMENT

      The Court has appellate jurisdiction pursuant to 28 U.S.C. § 1291 because

this is an appeal following the District Court’s dismissal of the action with

prejudice.

      The District Court had jurisdiction over the underlying dispute pursuant to

the Class Action Fairness Act of 2005 (28 U.S.C. §§ 1332(d)) (“CAFA”), because

the consolidated Class Action Complaint alleged damages in excess of $5,000,000

and there existed minimal diversity between at least one of the class members and

Defendant, and none of the exceptions applied. 28 U.S.C. § 1332(d).




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                              ISSUES PRESENTED

      Whether the District Court erred in dismissing Plaintiff’s UCL claims on

grounds she failed to plead reliance, despite the Second Amended Complaint

containing no allegations of false advertising, fraud, or deception?

      Whether the District Court abused its discretion in granting Keurig’s Motion

to Dismiss without leave to amend and with prejudice?




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                          STATEMENT OF THE CASE

      A.     Keurig Engages in Tying Behavior in Violation of the MMWA.

      Defendant’s Warranty provides that “[o]nly the use of Keurig® K-Cup®

brand pods and accessories will guarantee the proper functioning and lifetime of

your Keurig® brewer.” 4-ER-606. “Any damage to or malfunction of your brewer

resulting from the use of non-Keurig® pods and accessories may not be covered by

this warranty or may result in a service fee if the damage or malfunction is

determined to be caused by such use.” 4-ER-606-07. Additionally, the Warranty

provides: “Nor does this warranty cover damages caused by use of non-Keurig®

pods or accessories, services performed by anyone other than Keurig® or its

authorized service providers, use of parts other than genuine Keurig® parts, or

external causes such as abuse, misuse, inappropriate power supply, or acts of

God.” 4-ER-607.

      The foregoing language directly violates Magnuson-Moss and its

implementing regulations. See 15 U.S.C. § 2302(c); 16 C.F.R. § 700.10(c). Section

2302(c) provides “[n]o warrantor of a consumer product may condition his written

or implied warranty of such product on the consumer’s using, in connection with

such product, any article or service . . . which is identified by brand, trade, or

corporate name.” Similarly, 16 C.F.R. § 700.10(c) provides “[n]o warrantor may

condition the continued validity of a warranty on the use of only authorized repair


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service and/or authorized replacement parts for non-warranty service and

maintenance . . . .”

         Even if Defendant did not actually impair the Warranty by conditioning it on

the use of only authorized repair service and/or authorized replacement parts, the

warranty language certainly conveys as much to consumers, which itself violates

anti-tying regulations. Plaintiff alleged facts demonstrating consumer advocates

understood the Warranty language to exclude the use of third-party repairs and

parts:

            • “Fixing The K” – a website devoted to “Keurig Troubleshooting”

               states “We want to highlight any repairs carried out on your brewer

               that Keurig does not do will void the warranty. So PLEASE DO NOT

               attempt any repairs on your machine if you are still under their

               warranty. We mention this in several places on our site, but we

               wanted to make sure you saw it here too.”1

            • “Coffee Grump” – in an article titled “Can I Fix My Keurig? A

               Realistic Guide,” the author post the FAQ “What can void Keurig

               warranty?” and states, inter alia, “If you attempt to repair the unit, the

               warranty will be void.” 2

1
  4-ER-607 (citing Fixing the K, “Keurig Warranty – Understanding Your Rights”
(available at https://fixingthek.com/keurig-warranty-understanding-your-rights/)).
2
  4-ER-607 (citing Coffee Grump, “Can I Fix My Keurig? A Realistic Guide”
(available at https://coffeegrump.com/a-realistic-guide-to-fixing-your-keurig/)).
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         • “My Virtual Coffee House” – in an article titled “Understanding

             Your Keurig Warranty – What is in the fine print,” the author

             explicitly cautions: “The big thing here we want to highlight is that

             any repairs that are carried out on your Keurig brewer that are not

             done by Keurig will make the warranty void. So PLEASE DO

             NOT attempt any repairs on your machine if you are still under their

             warranty.”3

         • “Lucky Belly” – in an article titled “10 Easy Steps To Disassemble A

             Keurig,” the author writes “One word of warning: don’t try your own

             repairs if your Keurig is still under warranty. Any attempts to fix it

             yourself will void the warranty.”4

      Moreover, as alleged in the SAC, the public interest advocacy group US

PIRG contacted Defendant’s customer service and, posing as a Keurig customer,

asked if third-party repair would void the Warranty. Defendant’s representative

unequivocally stated that it would.




3
  4-ER-607-08 (citing My Virtual Coffee House, “Understanding Your Keurig
Warranty       –     What    is    in   the    fine    print”    (available   at
https://myvirtualcoffeehouse.com/understanding-your-keurig-warranty-what-is-in-
the-fine-print)).
4
  4-ER-608 (citing Lucky Belly, “10 Easy Steps To Disassemble A Keurig,”
(available at https://www.luckybelly.com/how-to-take-apart-a-keurig/)).
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      4-ER-608-09, Fig. 1.

      B.     Plaintiff’s Purchase of the Product and Resulting Injury

      In July 2022, Plaintiff purchased a Keurig K-Mini Plus Coffee Maker (the

“Product”, manufactured by Keurig. 4-ER-612. This Product was subject to

Defendant’s Warranty over the course of a one-year period following Plaintiff’s

purchase (the “Warranty Period”). 4-ER-612. For the reasons set forth in the

preceding section, Plaintiff was unable to repair her Product via a third party,

independent repair service during the Warranty Period without purportedly voiding

her Warranty. This condition of the Warranty is unlawful and has caused Plaintiff

injury. Specifically, Plaintiff suffered an economic injury because the unlawful

tying provisions in the Warranty diminished the value of the Product. 4-ER-612.

Accordingly, Plaintiff suffered an economic injury because she would not have

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paid as much as she did for the Product due to the Warranty’s unlawful tying

provisions. 4-ER-612. Further, Plaintiff anticipates buying a new Product in the

future, and would consider purchasing a Product from Defendant, but does not

wish to have her rights under Magnuson-Moss thwarted by Defendant’s unlawful

tying provisions in its Warranty. 4-ER-612-13.

      C.     Procedural History

      Plaintiff’s First Amended Class Action Complaint (“FAC”) included

allegations suggesting Defendant made certain misrepresentations to Plaintiff

about the validity of her coffee maker warranty. 7-ER-1679, 7-ER-1680, 7-ER-

1691, 7-ER-1692, 7-ER-1693. The District Court seized on this misrepresentation

theory in dismissing Plaintiff’s UCL claims. See 4-ER-639-40 (characterizing

Defendant’s alleged intentional misrepresentations as the “crux” of Plaintiff’s UCL

claims and finding that Plaintiff failed to allege actual reliance on the warranty’s

unlawful tying provisions). In its order dismissing the FAC, the Court granted

Plaintiff leave to amend. 4-ER-640. Plaintiff then filed an amended complaint, the

dismissal of which is the subject of this appeal.

      In the Second Amended Class Action Complaint (“SAC”), Plaintiff sought

to excise the theory undergirding the court’s previous dismissal of Plaintiff’s UCL

claims. The SAC does not allege that Plaintiff was deceived by any

misrepresentation or omission by Defendant. See 4-ER-615-18. Rather, the SAC


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alleges that Defendant’s representations are warranty-voiding restrictions that

violate Magnuson-Moss and its anti-tying provisions. See 4-ER-601, 4-ER-610, 4-

ER-617. Plaintiff lost money because she purchased a product of diminished value

stemming from a warranty that restricts her ability to use third-party repairs and

parts. 4-ER-612, 4-ER-617. The crux of Plaintiff’s UCL claims in the SAC,5 then,

is that the warranty’s tying provision is unlawful, and that unlawfulness diminished

the value of the product that Plaintiff purchased. Under this theory, Plaintiff need

not to have relied on any misrepresentation in order to have suffered harm as a

result of Defendant’s unlawful and unfair conduct.

      Despite Plaintiff having excised any misrepresentation theory from the SAC,

in its dismissal order, the District Court characterized the allegations in the SAC as

“largely unchanged” from the FAC.6 See 1-ER-2-6. The District Court again

dismissed Plaintiff’s UCL claims on reliance grounds, reasoning that the crux of

Plaintiff’s allegations remained the same as in the FAC. 1-ER-5. Because,

according to the Court, Plaintiff did not allege that she read and relied on the

unlawful tying provision the warranty, she again failed to demonstrate statutory



5
  Plaintiff asserts two UCL causes of action against Defendant—one under the
UCL’s “unlawful” prong and one under the “unfair” prong. Both claims involve
the same root misconduct. See 4-ER-617-18.
6
  In the District Court’s view, the “crux” of the allegations in the SAC remained
the same—that “Keurig made misrepresentations to [Plaintiff] and similarly
situated consumers that the warranty’s validity is conditioned on her using an
authorized provider to perform repairs…in violation of the Magnusson-Moss
Warranty Act’s anti-tying provisions.” 1-ER-4-5.
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standing under the UCL. 1-ER-4-5. The District Court also denied Plaintiff’s

request for leave to amend. 1-ER-6.

                       SUMMARY OF THE ARGUMENT

      The District Court erred in finding the Second Amended Complaint sounded

in fraud and that Plaintiff was required to plead reliance. This action is not a false

advertising case, and the District Court did not identify a single misrepresentation

in this action, as there were no allegations concerning any misrepresentations or

fraud. Rather, Defendant sold Plaintiff a product with a faulty warranty that

diminished the value of the product.

      Additionally, the District Court abused its discretion by denying Plaintiff

leave to amend the complaint, failing to provide an adequate reason as required by

Ninth Circuit precedent and Rule 15’s liberal amendment standard. The District

Court’s single-sentence explanation did not address why amendment could not

cure the purported deficiencies, particularly where Plaintiff’s claims did not rely on

a fraud theory. Even if dismissal on the merits is upheld, the refusal to allow

further amendment is reversible error, as Plaintiff demonstrated a good faith

attempt to address prior deficiencies and should be afforded at least another

opportunity to amend before determining that amendment is futile.

      Lastly, Defendant may argue on appeal that, to the extent this Court finds the

District Court made the foregoing errors, dismissal with prejudice was nevertheless


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appropriate because (1) Plaintiff lacked statutory standing to pursue her UCL

Claims because she did not adequately allege she suffered an economic injury, (2)

Plaintiff failed to allege damages under the MMWA, (3) Plaintiff did not

adequately allege unlawful conduct violative of the MMWA, (4) assuming Plaintiff

alleged unlawful tying conduct, such conduct is not violative of the MMWA

because Defendant provided repairs without charge, and (5) Plaintiff failed to

assert a viable claim under the ‘unfair’ prong of the UCL. The District Court did

not reach a determination on these issues, however, to the extent this Court were to

address these issues, each of these arguments are without merit, for the reasons set

forth infra.

                            STANDARD OF REVIEW

       This Court “review[s] de novo the district court’s grant of a motion to

dismiss under [Federal Rule of Civil Procedure] 12(b)(6), accepting all factual

allegations in the complaint as true and construing them in the light most favorable

to the nonmoving party.” Ebner v. Fresh, Inc., 838 F.3d 958, 962 (9th Cir. 2016)

(quoting Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1014 (9th Cir.

2012)). Determining whether a complaint states a plausible claim for relief is a

“context-specific task,” requiring “the reviewing court to draw on its judicial

experience and common sense.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937,

173 L.Ed.2d 868 (2009).


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         Additionally, a district court’s grant of a motion to dismiss without leave to

amend and with prejudice is reviewed for abuse of discretion. In re Tracht Gut,

LLC, 836 F.3d 1146, 1150 (9th Cir. 2016).

                                     ARGUMENT

    I.      The District Court Erred in Finding Plaintiff Was Required to Plead
            Reliance as an Element to Her UCL Claims.

         The District Court held that Plaintiff’s UCL claims sound in fraud and, as a

result, there is a reliance requirement bound up in those claims’ causation

element. 7 See 1-ER-4 (“In UCL cases that involve allegations that sound in fraud,

the phrase ‘as a result of’ requires that a plaintiff show that she actually relied on

the misrepresentation.”) (citing Kwikset Corp. v. Superior Ct., 246 P.3d 877, 888

(Cal. 2011)). Because, per the District Court’s reasoning, Plaintiff did not allege

that she read and relied on the warranty’s unlawful tying provision when she

decided to purchase her coffee maker, she failed to allege statutory standing under

the UCL. 1-ER-4-5.




7
  The District Court also reasoned that because Plaintiff’s UCL claims sound in
fraud, Rule 9(b)’s heightened pleading requirement applies. See 1-ER-4. Because
this case does not involve allegations of fraud for the reasons discussed, the court’s
holding as to Rule 9(b) is also erroneous. See Kearns v. Ford Motor Co., 567 F.3d
1120, 1122 (9th Cir. 2009) (“To the extent a party does not aver fraud, the party’s
allegations need only satisfy the requirements of Rule 8(a)(2).”).


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            A.     There is no reliance requirement for UCL claims that do not

                   sound in fraud.

         The District Court’s reliance analysis goes astray at step one. Plaintiff’s

allegations do not sound in fraud; they do not so much as allude to Plaintiff being

deceived by any warranty misrepresentation or omission by Defendant. Under

Ninth Circuit precedent, Plaintiff need not allege reliance on any purported

misrepresentations by Defendant because Plaintiff does not allege fraud in the first

place.

         There can be no doubt that the “as a result of” language in the UCL imparts

a reliance requirement for claims under the UCL’s fraudulent prong. See In re

Tobacco II, 207 P.3d at 39 (the “as a result of” language “imposes an actual

reliance requirement on plaintiffs prosecuting a private enforcement action under

the UCL’s fraud prong.”). The same is true of unlawful- or unfair-prong claims,

but only when “the predicate unlawfulness is misrepresentation and deception.”

Durell v. Sharp Healthcare, 108 Cal. Rptr. 3d 682, 694 (Cal. Ct. App. 2010);

accord Kwikset, 246 P.3d at 888 n. 9; In re iPhone Application Litig., 6 F. Supp. 3d

1004, 1014 (N.D. Cal. 2013).

         For purposes of the UCL, when the predicate unlawfulness does not involve

misrepresentation and deception, however, there is no reliance requirement. In re

Tobacco II Cases, 207 P.3d 20, 39 n. 17 (Cal. 2009) (“There are doubtless many


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types of unfair business practices in which the concept of reliance, as discussed

here, has no application.”); see also Kissel v. Code 42 Software, Inc., No. SACV

15-1936-JLS (KESx), 2016 U.S. Dist. LEXIS 184368, at *21-23 (C.D. Cal. Apr.

14, 2016) (“Following Tobacco II Cases and Kwikset, courts have used a relaxed

causation standard where a UCL claim does not sound in fraud. . . . Given that

Kissel’s claims do not sound in fraud, we similarly decline to require reliance as to

her allegations of causation.”);Cappello v. Walmart Inc., 394 F. Supp. 3d 1015,

1020 (N.D. Cal. 2019) (“When a plaintiff alleges a different type of unfair

competition not based on a misrepresentation, however, courts have dispensed with

[the] actual reliance requirement.”); Robinson v. Onstar, No. 15-CV-1731 JLS

(BGS), 2019 U.S. Dist. LEXIS 241113, at *21 (S.D. Cal. Mar. 18, 2019)

(“[Plaintiff’s] allegations…do not sound in fraud and, consequently, the Court

agrees with Plaintiff that she need not plead reliance to establish standing under

the UCL.”); Kissel v. Code 42 Software, Inc., No. 8:15-cv-01936, 2016 U.S. Dist.

LEXIS 184368, 2016 WL 7647691, at *2 (C.D. Cal. Apr. 14, 2016) (“[T]he

California Supreme Court has consistently indicated that this concept of reliance

may not apply to UCL claims that do not sound in fraud.”) (citations omitted); see

also Backus v. General Mills, Inc., 122 F. Supp. 3d 909, 926 (N.D. Cal. 2015)

(“[The plaintiff’s claims do not sound in fraud, and the UCL does not carry a

heightened standard for standing in this case.”). That is the case here.


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          B.    Plaintiff need not allege reliance because Plaintiff’s claims are

                not based on allegations of misrepresentation and deception.

    The District Court ignored the line of authority from which it should have

drawn guidance—cases where the plaintiffs’ UCL claims were not rooted in

allegations of misrepresentation and deception. This case is of that ilk. Because

Plaintiff’s unlawful- and unfair-prong claims stem from Defendant’s

straightforward violation of the MMWA rather than any misrepresentations or

deception, those claims do not sound in fraud. 8 As a result, there is no reliance

requirement that Plaintiff must satisfy.

       UCL cases involving statutory violations outside the false advertising

context are particularly instructive. In Clayworth v. Pfizer, Inc., 233 P.3d 1066

(Cal. 2010), the California Supreme Court declined to require the plaintiffs to

establish reliance in support of their UCL claim. There, the plaintiff pharmacies

sued pharmaceutical manufacturers defendants, alleging they conspired to fix

prices of brand-name drugs in the United States, resulting in inflated prices

between 50% and 400% higher than those for the same drugs in Canada, where



8
  Because the UCL’s unfair prong “borrows” violations of other federal, state, or
local laws, Plaintiff’s claim under that prong stems from Defendant’s statutory
violation of the MMWA in the most literal sense. See 4-ER-616-17. Plaintiff’s
unfair-prong claim stems from the same statutory violation because that unlawful
conduct is a per se violation of the unfair prong, is immoral, unethical,
unscrupulous, or substantially injurious to consumers, and because the MMWA
provisions that Defendant violated are the source of the public policy for purposes
of the “tethering” test. See 4-ER-617-18.
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pricing is regulated. Id. at 1070-71. The plaintiffs claimed they were forced to pay

inflated prices and sued under the Cartwright Act and the UCL. Id. The Supreme

Court held the plaintiffs had standing to bring a UCL claim, finding they suffered

an economic injury as a result of unfair competition. Id. at 1087 (the UCL

“requires only that a party have ‘lost money or property,’ and [plaintiffs]

indisputably lost money when they paid an allegedly illegal overcharge”). The

court did not hold plaintiffs were required to plead reliance—it was sufficient that

the plaintiffs paid overcharges as a result of the defendant’s unlawful business

practices. Id.

      In Svenson v. Google, Inc., the court correctly rejected the same

characterization of the plaintiffs’ UCL claims that the lower court here adopted.

No. 13-cv-04080-BLF, 2015 U.S. Dist. LEXIS 43902 (N.D. Cal. April 1, 2015).

The plaintiffs in Svenson alleged that Google violated its own privacy policies by

disclosing app purchasers’ personal information despite a California statute

prohibiting an online service from failing to comply with its own privacy policies.

Id. at 30. That statutory violation was the basis of the plaintiffs’ UCL unlawful-

prong claim. See id. Google, nonetheless, argued that the “thrust” of the plaintiff’s

UCL claim was that Google misrepresented its practices. Because, per Google, the

plaintiff was alleging deception, the plaintiff’s UCL claim had a reliance

requirement that the plaintiff failed to satisfy. Id. at *33. The court flatly rejected


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Google’s attempt to impose a reliance requirement: “[The plaintiff’s] unlawful

prong claim alleges in a straightforward manner that Google violated its own

privacy policies in violation of California Business and Professions Code § 22576.

No reliance is required for a violation of § 22576.” Id.

      Similarly, in Kissel, the court declined to impose a reliance requirement

where the plaintiff’s unlawful- and unfair-prong claims were based on the failure

of the defendant, an operator of an online subscription marketing service, to

comply with the requirements of California’s Automatic Renewal Law. 2016 U.S.

Dist. LEXIS 184368, at *23 (“Given that [the plaintiff’s] claims do not sound in

fraud, we…decline to require reliance as to her allegations of causation.”).9

      The sound reasoning of Svenson and Kissel applies because Defendant’s

misconduct is akin to the statutory violations in those cases. Here, the predicate

unlawfulness is Defendant’s straightforward violation of the MMWA’s anti-tying

provisions. Contrary to the District Court’s characterization, see 1-ER-5, the crux

of the SAC is not that Defendant’s warranty statements misled and deceived

Plaintiff and other consumers, it is that those representations are proscribed by the

MMWA and its implementing regulations. The “as a result of” language in the

UCL, therefore, does not impart a reliance requirement here. And Plaintiff need not



9
 In Kissel, the court described this as a “relaxed causation standard”. See id. at
*22-*23.
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plead with particularity how she was deceived, nor allege that she relied on any

misrepresentation.

          C.    The lower court’s reliance analysis is rooted in a line of

                inapposite false advertising cases.

      The District Court employed precisely the type of erroneous reframing of

Plaintiff’s UCL claims that the court in Svenson rightly rejected. In so doing, the

District Court rooted its reliance analysis in inapposite case law. In each case the

Court cited, the plaintiff’s theory of liability was that the defendant engaged in

misrepresentations and deceived consumers. 1-ER-4; see In re Tobacco II Case,

207 P.3d 20, 27 (Cal. 2009) (challenging the defendants’ “public disinformation

strategy… concerning the health effects of cigarette smoking”); Kwikset, 246 P.3d

at 883, 888 n. 9 (where the plaintiffs challenged the “Made in the U.S.A.” label on

the defendants’ locksets, “[t]he theory of the case [was] that [the defendants]

engaged in misrepresentations and deceived consumers”); In re iPhone, 6 F. Supp.

3d at 1008, 1013 (defendant made misrepresentations about its data collection and

privacy practices); Durell, 108 Cal. Rptr. 3d at 692 (alleging various

misrepresentations, including that the defendant’s website made false promises of

affordable care and that the defendant’s patient services agreement misrepresented

how patients are charged for services). As explained, and as the District Court




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failed to acknowledge, Plaintiff’s theory of liability here, in contrast, is not

misrepresentation and deception.

      The types of claims brought by the plaintiffs in the cases cited by the District

Court further underscore the fraud-based nature of the allegations in those cases. In

re Tobacco II involved a claim under the fraudulent prong of the UCL. See In re

Tobacco II, 207 P.3d at 29 (“We are here concerned with the third prong of the

statute—an allegation of a fraudulent business act or practice, specifically claims

of deceptive advertisements and misrepresentations by the tobacco industry about

its products.”). While Kwikset and Durell involved unlawful-prong claims, in both

cases, those UCL claims were rooted in false advertising statutes. See Kwikset, 246

P.3d at 881 (“The UCL count for unlawful business practices alleged [the

defendant’s] marketing violated both specific state and federal statutes regulating

country of origin labeling…and general statutes governing false advertising.”);

Durell, 108 Cal. Rptr. 3d at 692 (predicate unlawfulness was the defendants’

alleged violation of three subdivisions of the Consumer Legal Remedies Act

(“CLRA”)) (citing Cal. Civ. Code § 1770(a)(5), (9), (16)).10 Similarly, In re

iPhone involved both CLRA and UCL claims—all rooted in allegations of the

defendant’s misrepresentations. See In re iPhone, 6 F. Supp. 3d at 1012-13


10
  Kwikset also involved alleged CLRA violations, see Kwikset, 246 P.3d at 881
(citing Cal. Civ. Code §§ 1770 (a)(4), (5), (7), (9), (16)), as well as violations of
other state and federal statutes.

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(gravamen of the plaintiffs’ claims under all three prongs of the UCL was that the

defendant “misrepresented its data collection and privacy practices”).

      Unlike in In re Tobacco II, Plaintiff does not assert a claim under the UCL’s

fraudulent prong. And unlike in Kwikset, Durell, and In re iPhone, the predicate

unlawfulness for Plaintiff’s unlawful-prong claim is not a violation of the CLRA or

any other false advertising statute. As explained, this is because Defendant’s

warranty representations are not unlawful because they are deceptive. Rather, those

representations are unlawful because tying a warranty to exclusive repair by the

manufacturer is expressly prohibited by the MMWA and Defendant’s

representations lead consumers to believe that third-party repair will void the

warranty. See 4-ER-601, 4-ER-606-07, 4-ER-608, 4-ER-616.

         D.     The reasonable consumer standard in the false advertising

                context is inapplicable here.

      The District Court’s reliance analysis may have gone astray because the

complaint alludes to a reasonable consumer. See 4-ER-604, 4-ER-607, 4-ER-616. 11

The reasonable consumer standard, of course, is prevalent in the deceptive

advertising context. See, e.g., Jacobs v. La-Z-Boy Inc., No. 2:24-cv-04446-JLS-AS,

2024 U.S. Dist. LEXIS 208219, at *12 (C.D. Cal. Nov. 14, 2024) (“For claims



11
  The district court cited Paragraph 67(v) of the SAC in its reliance analysis. See
1-ER-5.
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made under the UCL, FAL, and CLRA, courts apply the ‘reasonable consumer’

test, which requires a plaintiff to show that ‘members of the public are likely to be

deceived.’” (citing Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir.

2008)). The standard referenced in the complaint, however, is not the reasonable

consumer standard in false advertising cases but instead concerns the FTC’s

standard for determining if the warranty language results in unlawful tying.

      Plaintiff does not allege that Defendant’s representations are likely to

deceive members of the public. Consistent with FTC guidance clarifying that a

manufacturer’s disclaimer of liability need not be explicit for it to be prohibited by

the MMWA, Plaintiff alleges that Defendant’s representations lead reasonable

consumers to believe that third-party repair will void Defendant’s warranty. This is

not an allegation of deception; it is the opposite. This is an allegation that

Defendant’s representations in the warranty text are precisely what consumers

understand them to be—prohibited warranty restrictions against third-party repair.

While allegations of what a reasonable consumer would understand a

representation to mean in the false advertising context usually relate to allegations

of misrepresentations and deception, that is not the case here. Should these

allegations have caused the District Court to misconstrue Plaintiff’s allegations and

UCL claims, Plaintiff respectfully asks the Court to right the ship.




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          E.     Even Assuming Reliance is Required, Plaintiff Relied on the

                 Product Webpage and Expected the Product Was Subject to a

                 Warranty that Complied with the Law.

      To the extent the Court holds reliance is nevertheless required, despite the

lack of fraud allegations, the District Court erred in finding that the Plaintiff failed

to plead it. As alleged in the SAC, at the time Plaintiff purchased the Product on

Amazon.com, Plaintiff saw a notice on the webpage that the Product had a

warranty—however, the terms of the Warranty were not available on the webpage,

via link or otherwise. 4-ER-612. In reliance on that notice, Plaintiff reasonably

expected that the Product was subject to a warranty that complied with the law. Id.

Following her purchase, Plaintiff learned she is unable to repair her Product via a

third party, independent repair service without purportedly voiding her Warranty.

Id. However, this condition of the Warranty is unlawful, and has caused Plaintiff

injury. Id.; see also Steroid Hormone Product Cases, 104 Cal. Rptr. 3d 329, 339

(Cal. Ct. App. 2010) (“The ‘damage’ [plaintiff] alleged in this case is that, in

reliance on GNC’s deceptive conduct, he bought an illegal product he would not

have bought had he known it was illegal. . . . “[T]he question that must be

answered in this case is whether a reasonable person would find it important when

determining whether to purchase a product that it is unlawful to sell or possess that

product. It requires no stretch to conclude that the proper answer is ‘yes’ . . . .”).


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The District Court erred in finding Plaintiff’s allegations fell short of the UCL’s

reliance requirement in cases sounding in fraud. Although Plaintiff did not allege

having read the specific unlawful tying provision before purchasing the Product,

she has alleged sufficient information about the specific information on which she

relied (i.e., the existence of a warranty which she reasonably presumed to be

lawful), such that Defendant had notice of her claims. See Rasmussen v. Apple Inc.,

27 F. Supp. 3d 1027, 1045 (N.D. Cal. 2014) (“While Plaintiff has not expressly

alleged the precise statements or advertisements upon which he has relied, he has

alleged sufficient information about the information on which he relied, as well as

examples of similar specific statements from the same sources, to give [Defendant]

notice of the nature of the alleged misrepresentations at issue.”) (emphasis

omitted).

   II.      Plaintiff Plausibly Alleged Claims Under the ‘Unlawful’ and ‘Unfair’
            Prongs of the Unfair Competition Law.

         In its Motion to Dismiss the SAC, Defendant argued (1) Plaintiff lacked

statutory standing to pursue her UCL Claims because she did not adequately allege

she suffered an economic injury, (2) Plaintiff failed to allege damages under the

MMWA, (3) Plaintiff did not adequately allege unlawful conduct violative of the

MMWA, (4) assuming Plaintiff alleged unlawful tying conduct, such conduct is not

violative of the MMWA because Defendant provided repairs without charge, and

(5) Plaintiff failed to assert a viable claim under the ‘unfair’ prong of the UCL. The

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District Court did not reach a determination on these issues, however, to the extent

this Court were to address these issues, each of these arguments are without merit.

Additionally, to the extent this Court determines the SAC should have been

dismissed on any of these grounds, Plaintiff respectfully requests leave to amend.

See Fed. R. Civ. P. 15(a)(2) (“[t]he court should freely give leave [to amend] when

justice so requires.”).

          A.     Plaintiff Has Standing to Pursue Her UCL Claims.

                    1.     Plaintiff Has Suffered an Economic Injury.

      Standing under the UCL is limited to those who have “suffered injury in fact

and [have] lost money or property as a result of . . . unfair competition.” Cal. Bus.

& Prof. Code § 17204. Accordingly, to bring a UCL action, a private plaintiff must

be able to show economic injury caused by unfair competition. Kwikset, 246 P.3d

at 885. The “quantum of lost money or property necessary to show standing is only

so much as would suffice to establish injury in fact . . . [ and] federal courts have

reiterated that injury in fact is not a substantial or insurmountable hurdle; as then-

Judge Alito put it: ‘Injury-in-fact is not Mount Everest.’ . . . Rather, it suffices for

federal standing purposes to ‘“allege[] some specific, ‘identifiable trifle’ of

injury.”‘” Id. at 886 (quoting Danvers Motor Co., Inc. v. Ford Motor Co., 432 F.3d

286, 294 (3d Cir. 2005) (quoting Bowman v. Wilson, 672 F.2d 1145, 1151 (3d Cir.

1982)) (emphasis added).


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      “There are innumerable ways in which economic injury from unfair

competition may be shown. A plaintiff may (1) surrender in a transaction more, or

acquire in a transaction less, than he or she otherwise would have; (2) have a

present or future property interest diminished; (3) be deprived of money or

property to which he or she has a cognizable claim; or (4) be required to enter into

a transaction, costing money or property, that would otherwise have been

unnecessary.” Id. at 885-86. Plaintiff here has suffered an economic injury because

“the unlawful tying provisions in the Warranty diminished the value of the

Product.” 4-ER-612.

      Indeed, Plaintiff has adequately alleged Defendant diminished her property

interests with respect to the Product she purchased. Plaintiff is unable to repair her

Product via a third party, independent repair service without purportedly voiding

her Warranty. 4-ER-612. Indeed, that property interest is diminished where, as

here, customers reasonably believe that they cannot obtain third-party repair

without voiding their warranty. As has been long recognized by California courts,

“[t]he right of property consists in the free use, enjoyment, and disposal of all a

person’s acquisitions, without any control or diminution, save only by the laws of

the land.” Adams v. Hackett, 7 Cal. 187, 198 (1857) (citing Vide Bouvier’s Law

Dictionary, Tit. “Property,” “Things”); John R. Sand & Gravel Co. v. United

States, 60 Fed. Cl. 230, 237 (2004) (same). Indeed, “[a]ccess to one’s personal


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property and the free use of it is normally considered a property right,” Parker v.

DeTella, No. 98 C 0644, 1998 U.S. Dist. LEXIS 4523, at *8 (N.D. Ill. Apr. 6,

1998). By limiting Plaintiff’s right to her free use of her coffee maker in a way that

is guaranteed by the MMWA, Defendant is diminishing Plaintiff’s “future property

interest[s],” which is a sound basis for Plaintiff’s standing under the UCL.

                    2.    Plaintiff Need Not Demonstrate Damages Under the
                          MMWA for her UCL Claims, But Has Nevertheless
                          Satisfied This Element.

      Plaintiff does not dispute Section 2310(d), which authorizes a private right

of action to consumers to enforce the MMWA, has a standing requirement such

that the consumer must be “damaged by the failure of a warrantor . . . to comply

with any obligation under [the MMWA] . . . .” 15 U.S.C. § 2310(d)(1). However,

Plaintiff is not bringing a claim under Section 2310(d), nor does Section 2310(d)

serve as the predicate for Plaintiff’s UCL “unlawful” or “unfair” prong claims.

Rather, Plaintiff’s UCL claims are predicated on 15 U.S.C. § 2302(c) and 16

C.F.R. § 700.10(c), neither of which has a damages element. The only standing

requirement Plaintiff must satisfy is that she “suffered injury in fact and has lost

money or property as a result of . . . unfair competition,” Cal. Bus. & Prof. Code §

17204, which she has adequately alleged for the reasons set forth hereinabove. As

neither 15 U.S.C. § 2302(c) nor 16 C.F.R. § 700.10(c) requires Plaintiff to




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demonstrate actual damages, Plaintiff need not make that showing here, even

though she can.

      Plaintiff is aware the UCL’s “safe harbor doctrine” precludes a plaintiff from

pleading around “an absolute bar to relief simply by recasting the cause of action

as one for unfair competition.” Chabner v. United of Omaha Life Ins. Co., 225

F.3d 1042, 1048 (9th Cir. 2000) (citations and quotations omitted). However, the

“absolute bar” provision only applies when the “Legislature has . . . considered a

situation and concluded no action should lie.” Davis, 691 F.3d at 1164. There is

nothing in the MMWA’s statutory scheme or the legislative history indicating

Congress has concluded that a plaintiff is barred from bringing a non-MMWA

cause of action that seeks to enforce a provision in the MMWA. Defendant is

likely to argue that because Congress created a private right of action for

individuals who have been damaged as a result of a violation of MMWA, that

necessarily means Congress has concluded that a plaintiff is foreclosed from

bringing any other cause of action concerning a violation of the MMWA. This

logical leap is unsupported by the case law. Indeed, the “absolute bar” provision

“does not [] prohibit an action under the [UCL] merely because some other statute

on the subject does not, itself, provide for the action . . . .” Cel-Tech

Communications, Inc. v. Los Angeles Cellular Telephone Co., 973 P.2d 527, 541

(Cal. 1999).


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      Thus, courts routinely decline to dismiss “unlawful” prong claims that are

predicated on statutes where no private right of action exists. See, e.g., Chabner v.

United of Omaha Life Ins. Co., 225 F.3d 1042, 1048 (9th Cir. 2000) (“It does not

matter whether the underlying statute also provides for a private cause of action;

section 17200 can form the basis for a private cause of action even if the predicate

statute does not.”); Matoff v. Brinker Rest. Corp., 439 F. Supp. 2d 1035, 1038

(C.D. Cal. 2006) (“Although section 351 [of the California Labor Code] does not

create a private right of action, the California Supreme Court has expressly rejected

the notion that ‘a private plaintiff lacks UCL standing whenever the conduct

alleged to constitute unfair competition violates a statute for the direct enforcement

of which there is no private right of action.’”) (citation omitted)); Ingalls v. Spotify

USA, Inc., No. C 16-03533 WHA, 2017 U.S. Dist. LEXIS 110817, *6 (N.D. Cal.

July 17, 2017) (although California’s Automatic Renewal Law, Cal. Bus. & Prof.

Code § 17602 (“ARL”) “does not provide a civil remedy, . . . Plaintiff may . . . sue

for violations of the ARL under Section 17200”).”‘Virtually any law or

regulation—federal or state, statutory or common law—can serve as [a] predicate

for a [Business and Professions Code section] 17200 “unlawful” violation.’”

Paulus v. Bob Lynch Ford, Inc., 43 Cal. Rptr. 3d 148, 166 (Cal. Ct. App. 2006)

(citing Stern, Bus. & Prof. Code, § 17200 Practice (The Rutter Group 2006) ¶ 3:56,

p. 3-13).


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      Defendant will likely rely on Asencio v. Miller Brewing Co, No. CV 02-

7317 SJO (CTx), 2006 U.S. Dist. LEXIS 103716 (C.D. Cal. Aug. 11, 2006) and In

re Vaccine Cases, 36 Cal. Rptr. 3d 80, 94-95 (Cal. Ct. App. 2005) for the

proposition that, where the legislature has imposed a prerequisite for a claim under

a particular statute, it follows that no UCL claim predicated on that statute can lie

unless the prerequisite is satisfied. However, “the rule argued by the defendant is

implicated when the borrowed law [goes] to UCL and impos[es] a procedural

requirement.” 2-ER-107 (emphasis added). Both Asencio and In re Vaccine Cases

concerned procedural defects, namely, failure to serve pre-suit notice under the

California Fair Employment and Housing Act and The Safe Drinking Water and

Toxic Enforcement Act, respectively. Substantive requirements concerning the

“rights and remedies” underpinning the underlying law, like Section 2301(d)’s

damages requirement, are not germane to whether a UCL claim has been properly

pled—particularly where the UCL has its own standing requirement. That alone

renders these cases distinguishable.

      However, to the extent the Court finds that Plaintiff is required to plead

damages under the MMWA, Plaintiff’s allegations demonstrate she was indeed

damaged by Defendant’s anti-tying conduct. Plaintiff paid money for an expensive

coffee maker, which is subject to a Warranty that illegally infringes on the full,

lawful use of her property by prohibiting third-party repair or parts. “Access to


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one’s personal property and the free use of it is normally considered a property

right,” Parker v. DeTella, No. 98 C 0644, 1998 U.S. Dist. LEXIS 4523, at *8

(N.D. Ill. Apr. 6, 1998), and “[t]he invasion of [one’s] right to peaceful enjoyment

of [his or her] property is a sufficient basis for damages.” Altvater v. Breckenridge,

345 P.2d 358, 361-62 (Cal. Ct. App. 1959). Indeed, California law recognizes that

infringement upon a plaintiff’s legally protected use or possession of her property

results in damage. The most apposite example is trespass to chattels, which applies

“where an intentional interference with the possession of personal property has

caused injury.” Thrifty-Tel, Inc. v. Bezenek, 54 Cal. Rptr. 2d 468, 473 (Cal. Ct.

App. 1996). To be actionable, the interference must have “caused some injury to

the chattel or to the plaintiff’s rights in it.” Intel Corp. v. Hamidi, 71 P.3d 296,

302 (Cal. 2003) (emphasis added). The California Supreme Court has made clear,

“one who intentionally intermeddles with another’s chattel is subject to liability

only if his intermeddling is harmful to the possessor’s materially valuable interest

in the physical condition, quality, or value of the chattel, or if the possessor is

deprived of the use of the chattel for a substantial time, or some other legally

protected interest of the possessor is affected[.]” Id. at 302-303 (emphasis added).

      Directly on point is Schaer v. Newell Brands Inc., No. 3:22cv30004, 2023

U.S. Dist. LEXIS 28028 (D. Mass. Feb. 15, 2023). There, the plaintiff alleged

Defendants’ warranty on a Mr. Coffee product violated the MMWA and other state


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consumer protection laws by unlawfully voiding the warranty if unauthorized

repairs are made. Id. at *2. The plaintiff claimed she was damaged by these

restrictions, which reduced the value of the product, constituting overpayment. Id.

at *3. The court allowed MMWA claim to proceed, finding, “a product that

contains an unlawful warranty -- that is voided by any attempt to repair or adjust

any electrical or mechanical functions -- is worth less than a product that does not

contain such a restriction. . . . This, is and of itself, would be an injury in fact.” Id.

at *4 (citations and quotations omitted).

      Defendant will likely cite to other cases, which pre-date Schaer, for the

position that the damages requirement is not satisfied where the plaintiff alleges

only a technical violation of the MMWA. See, e.g. McGarvey v. Penske Auto.

Grp., Inc., 639 F. Supp. 2d 450, 456 (D.N.J. 2009); Sasso v. Tesla, Inc., 584 F.

Supp. 3d 60 (E.D.N.C. Feb. 7, 2022), Atchole v. Silver Spring Imps., Inc., 379 F.

Supp. 2d 797, 802 (D. Md. 2005). However, none of these cases grappled with the

undisputed notion that a warranty which limits third-party repair is necessarily

worth less than one that does not.

      In any event, “the text and legislative history of the [Magnuson-Moss] Act

indicate that ‘courts [should] look to state law to determine the applicable measure

of damages[.]” Pyskaty v. Wide World of Cars, LLC, 856 F.3d 216, 223–24 (2d

Cir. 2017) (collecting cases). So, to the extent that the plaintiffs in the cases cited


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by Defendant failed to allege actual damages, those holdings are immaterial

because Plaintiff here has sufficiently pled actual damages under California law.

Altvater v. Breckenridge, 345 P.2d at 361-62; Intel Corp. v. Hamidi, 71 P.3d at

302; Kwikset Corp., 246 P.3d at 892.

         B.     Plaintiff Adequately Alleges Unlawful Conduct.

                   1.     Keurig Engages in Tying Behavior, in Violation of 15
                          U.S.C. § 2302(c) and 16 C.F.R. § 700.10(c).

      As discussed herein, Defendant’s Warranty provides that “[o]nly the use of

Keurig® K-Cup® brand pods and accessories will guarantee the proper

functioning and lifetime of your Keurig® brewer.” 4-ER-606-07. Additionally, it

provides: “Nor does this warranty cover damages caused by use of non-Keurig®

pods or accessories, services performed by anyone other than Keurig® or its

authorized service providers, use of parts other than genuine Keurig® parts, or

external causes such as abuse, misuse, inappropriate power supply, or acts of

God.” 4-ER-607.

      Defendant will likely argue the Warranty’s plain language does not violate

the MMWA because it does not specifically state it is “void” upon the use of third-

party repair or parts. But that is not the standard under 15 U.S.C. § 2302(c) or 16

C.F.R. § 700.10(c). Section 2302(c) provides “[n]o warrantor of a consumer

product may condition his written or implied warranty of such product on the

consumer’s using, in connection with such product, any article or service . . . which
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is identified by brand, trade, or corporate name.” Similarly, 16 C.F.R. § 700.10(c)

provides “[n]o warrantor may condition the continued validity of a warranty on the

use of only authorized repair service and/or authorized replacement parts for non-

warranty service and maintenance . . . .” The word “void” is not critical to asserting

a violation of the MMWA’s anti-tying provisions—rather, Plaintiff may simply

demonstrate Defendant has conditioned the Warranty on the use of only authorized

repair service and/or authorized replacement parts. Here, the express language

conveys that the Warranty will not apply where “services [are] performed by

anyone other than Keurig® or its authorized service providers [or] use of parts

other than genuine Keurig® parts . . . .” 4-ER-606-07.

      Defendant will also likely argue the so-called the Warranty does not cover

damages caused by third-party repair, under the series-qualifier canon. United

States v. Lucero, 989 F.3d 1088, 1093 n.3 (9th Cir. 2021) (“when there is a

straightforward, parallel construction that involves all nouns or verbs in a series, a

[prepositive or] postpositive modifier normally applies to the entire series”). But in

the eyes of a reasonable consumer, the word “damages” could be reasonably

construed to modify only “use of non-Keurig® pods or accessories,” rather than all

subsequent clauses in the sentence. Indeed, under 16 C.F.R. § 700.10(c), “warranty

language that implies to a consumer acting reasonably in the circumstances that

warranty coverage requires the consumer’s purchase of an article or service


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identified by brand, trade or corporate name” is similarly unlawful. (emphasis

added). Moreover, as alleged in the SAC, consumers routinely understood the

Warranty language to exclude the use of third-party repairs and parts. 4-ER-607-

09.

       At this stage it cannot be decided as a matter of law that the only reasonable

interpretation of the Warranty is that it excludes only damage resulting from third-

party repair. While Plaintiff’s position is that the representations identified in the

SAC indicate third-party repair or parts will void the Warranty, at minimum the

challenged representations—and their import—is disputed by the parties.

“Ambiguities arise when contractual language reasonably may be susceptible to

more than one interpretation based upon the offered evidence regarding the

material facts.” Abers v. Rounsavell, 116 Cal. Rptr. 3d 860, 865 (Cal. Ct. App.

2010) (citing Dore v. Arnold Worldwide, Inc., 139 P.3d 56, 60(Cal. 2006)). Where

the Court finds there is ambiguity in the contract, the issue is properly submitted to

a jury and should not be decided at the pleadings stage. See Morey v. Vannucci, 75

Cal. Rptr. 2d 573, 579 (Cal. Ct. App. 1998) (“Where the interpretation of

contractual language turns on a question of the credibility of conflicting extrinsic

evidence, interpretation of the language is not solely a judicial function. As a trier

of fact, it is the jury’s responsibility to resolve any conflict in the extrinsic

evidence properly admitted to interpret the language of a contract.”) (citation


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omitted). Plaintiff alleges the exclusions of coverage in Defendant’s Warranty

create an implication that the Warranty is conditioned upon the prohibition of

third-party repair or parts. See, e.g., 4-ER-606-09. At a minimum, the fact that

Plaintiff and Defendant have advanced competing interpretations of the import of

Keurig’s Warranty sufficiently demonstrates an ambiguity exists in the Warranty,

and that a fact issue has arisen that should preclude dismissal at the pleadings

stage.

                     2.     The “Without Charge” Exception is Inapplicable.

         Defendant will likely argue it may prohibit the use of third-party repair and

parts, in light of a narrow carveout in MMWA’s anti-tying provision. The carveout

at issue allows the conditioning of a warranty on specific repair services or parts if

said “article or service [is] provided without charge under the terms of the warranty.”

15 U.S.C. § 2302(c); 16 C.F.R. § 700.10(c). Defendant’s argument should fail for

two reasons.

         First, Defendant still misinterprets the scope of MMWA’s carveout to its anti-

tying provision. If a warrantor wished to (1) preclude the use of third-party repair or

parts for (2) warranty coverage that the warrantor would provide to the consumer

without charge, it does not follow that the warrantor may also prohibit third-party

repair or parts for repairs outside the scope of the warranty. The MMWA states that

a manufacturer cannot “require the use of specific repair services for non-warranty


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maintenance as a condition of redeeming warranty repairs.” McGarvey v. Penske

Auto Grp., Inc., 486 F. App’x 276, 281, n.6 (3d Cir. 2012) (citing 16 C.F.R. §

700.10(c)); Dickerson v. NWAN Inc., No. CV-17-01899-PHX-DGC, 2018 U.S. Dist.

LEXIS 19842, at *11-12 (D. Ariz. Feb. 7, 2018) (Requirement to “purchase a brand-

name service…for all non-covered repairs and maintenance performed on

[plaintiffs’] vehicle. …[appears to be] a prohibited tying arrangement under the

MMWA.”). As the FTC stated in the wake of three recent enforcement actions

addressing identical fact patterns:

      to be clear, a manufacturer can’t avoid liability by providing free parts
      or services to repair or replace defective parts if its warranty conveys
      that customers must use a specific brand of parts or specific service
      providers in other situations. Put another way, if a company will replace
      certain parts for free – but will still void a consumer’s warranty for
      using another maker’s parts for other purposes – the company has
      violated the law. 12

      Yet this is precisely what Defendant does. Defendant’s Warranty fails to cover

a litany of conditions that would nonetheless require repair, including, inter alia,

repairs required for “external causes such as . . . [undefined] misuse, inappropriate

power supply, or acts of God.” 4-ER-606-07. Although these are not covered repairs

under Defendant’s warranty, any of these conditions would necessitate repair and/or

replacement parts—a fact explicitly acknowledged in the above-excerpted language.


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  FTC announces three right-to-repair cases: Do your warranties comply with the
law?    (July   7,    2022)     (available   at    https://www.ftc.gov/business-
guidance/blog/2022/07/ftc-announces-three-right-repair-cases-do-your-warranties-
comply-law).
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      Defendant’s Warranty prohibits the use of third-party repair and parts in all

circumstances, including those not covered under the Warranty. Put differently, if a

consumer uses third-party parts or a third-party service to perform repairs required

for inappropriate power supply or acts of God, Defendant will no longer honor its

Warranty even if a covered part fails for an unrelated reason. This is prohibited by

MMWA. McGarvey, 486 F. App’x, at 281, n.6; Dickerson, 2018 U.S. Dist. LEXIS

19842, at *11-12.

      Second, Defendant does not provide parts free of charge in all circumstances.

Its K-Cup® brand pods and accessories must be used with its coffee makers to keep

the warranty intact. 4-ER-606 (“Only the use of Keurig® K-Cup® brand pods and

accessories will guarantee the proper functioning and lifetime of your Keurig®

brewer.”). Under the MMWA, “the term ‘without charge’ means that the warrantor

may not assess the consumer for any costs the warrantor or his representatives incur

in connection with the required remedy of a warranted consumer product.” 15 U.S.C.

§ 2304(d). Yet the K-Cup® brand pods and accessories are not free—the Warranty

provides that only the coffee maker itself would be repaired or replaced without

charge (and at its discretion). There are a host of circumstances in which someone

would have a K-Cup® brand pod or accessory that was compromised, but not

replaceable under the Warranty. For example, if a “genuine” K-Cup® brand pod

failed for any of the reasons under which Warranty coverage is excluded (see above),


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a consumer would have to pay for new “genuine” pods or else void her Warranty by

buying cheaper “non-genuine” pods. Similarly, if a customer lost a K-Cup® brand

pod, or wished to have an extra pod, she would be required to buy the pod from

Defendant or else void her Warranty. 4-ER-606. Whatever the context, it is

indisputable that Defendant conditions its Warranty on the use of its own pods, but

does not provide them “without charge” to consumers. MMWA’s anti-tying

carveout does not apply.

          C.     Plaintiff Adequately Alleges Unfair Conduct.

      Plaintiff’s allegations concerning Defendant’s anti-tying conduct satisfies

both the Cel-Tech test and the South Bay test for “unfairness” under the UCL.

Under the Cel-Tech test, Plaintiff alleges Defendant’s conduct significantly

threatens or harms competition in a way that is tethered to some legislatively

declared policy, namely the MMWA. See 4-ER-617-18 (“Defendant’s business

practices are also unfair because they undermine public policy, which is tethered to

specific statutory provisions, including the MMWA.”). The inherent threat and

harm to competition stems from Defendant’s “attempts to monopolize the device

repair market.” 4-ER-601. Additionally, this conduct threatens an incipient

violation of antitrust law. See, e.g., Pacific Exp., Inc. v. United Airlines, Inc., 959

F.2d 814, 817 (9th Cir. 1992) (“The following facts must be proved to establish an

attempt to monopolize claim: (1) specific intent to control prices or destroy


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competition; (2) predatory or anticompetitive conduct to accomplish the

monopolization; (3) dangerous probability of success; and (4) causal antitrust

injury.”).

      Under the South Bay test, Plaintiff has alleged Defendant’s business

practices are “immoral, unethical, oppressive, unscrupulous or substantially

injurious to consumers.” 4-ER-617. In Burks v. HP Inc., No. 22STCV20806 (Cal.

Super Ct., Cnty of L.A.), the court found substantially similar allegations to be

adequate. See 2-ER-109 (“In this case, Plaintiff alleges that the Defendant’s

business practice[s] are unfair by selling products with warranties that unlawfully

prohibit third party repair. Indeed, selling products with the warranties as alleged

can be considered unethical or unscrupulous.”). Of course, “[t]he gravity of the

harm to consumers is not outweighed by the utility of Defendant’s conduct.” 4-ER-

617. Thus, Plaintiff has adequately alleged Defendant’s conduct is “unfair” as

understood under the UCL.

             D.    Plaintiff Has Standing to Seek Injunctive Relief

      Lastly, Defendant will likely argue Plaintiff lacks standing to seek injunctive

relief under the UCL because she hasn’t alleged an actual or imminent future harm.

According to Defendant, Plaintiff’s allegations concerning a future purchase don’t

have the requisite level of certainty. But Defendant’s contention is wrong, and does

not fully grapple with Ninth Circuit case law, even in the false advertising context.


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      Though this is not a false advertising case, the line of “presently deterred”

cases in that context are instructive. “[A]llegations regarding the plaintiffs[‘]

inability to trust a label on the front of a product that a plaintiff desires to purchase

is sufficient for a plaintiff to establish standing to seek injunctive relief.”

Gunaratna, 2023 U.S. Dist. LEXIS 60796, at *33; see id. at *33-*34 (collecting

caes); see also Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969-970 (9th Cir.

2018) (“Knowledge that the advertisement or label was false in the past does not

equate to knowledge that it will remain false in the future. In some cases, the threat

of future harm may be the consumer’s plausible allegations that she will be unable

to rely on the product’s advertising or labeling in the future, and so will not

purchase the product although she would like to.”).

      Here, Plaintiff purchased a Keurig coffee maker aware of the fact that it had

a warranty, but unaware of the fact that the warranty contained an unlawful tying

provision. 4-ER-612. Plaintiff desires to purchase a Keurig product in the future.

See 4-ER-612-13 (“Plaintiff anticipates buying a new Product in the future and

would consider purchasing a Product from Defendant.”). But Plaintiff does not

wish to have her rights thwarted by Keurig’s unlawful tying provisions. 4-ER-612-

13. Stated differently, Plaintiff would like to purchase another Keurig coffee

maker, but will only make that purchase if she can do so without the possibility of

that coffee maker having a warranty that violates the MMWA’s anti-tying


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provision. She cannot presently trust that a Keurig coffee maker would come with

a warranty that complies with federal law, including because she cannot know

whether Keurig is engaging in anti-tying practices without purchasing a product

and attempting to obtain repair or replacement under the warranty. Under the

reasoning of Gunaratna, Davidson, and similar cases, Plaintiff has standing to seek

injunctive relief.

      Further, the onus is not on Plaintiff to review Defendant’s consumer

warranties in the future to determine whether those warranties violate the MMWA’s

anti-tying provision. See generally Tucker v. Post Consumer Brands, LLC, 2020

U.S. Dist. LEXIS 71090, *15 (N.D. Cal. Apr. 21, 2020) (“Absent injunctive relief,

plaintiff would not know whether honey is in fact a significant sweetener in

defendant’s product based on the front of the cereal box. Nor is the onus on plaintiff

to consult the ingredient list to try to discern this fact.”). The purchase of a Keurig

product should not require legal training to ensure the product warranty complies

with federal law.

      Indeed, there is no case authority suggesting that it is a consumer’s

responsibility to review a product warranty for compliance with the MMWA and

avoid injury by not purchasing a product with a warranty that violates federal law.

Accord Prescott v. Bayer Healthcare LLC, No. 20-cv-00102-NC, 2020 U.S. Dist.

LEXIS 136651, at *17 (N.D. Cal. July 31, 2020) (“it is not clear why the burden to


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avoid future misunderstanding lies with Plaintiffs and not Defendants when it is

Defendants’ actions that are allegedly unlawful”). Under the UCL, it is

Defendant’s responsibility to refrain from engaging in unlawful business practices.

And Defendant is liable to consumers, like Plaintiff, who suffer economic injuries

as a result of such practices.

   III.   The District Court Abused its Discretion in Granting Keurig’s Motion
          to Dismiss With Prejudice.

      “When a party requests to amend a pleading, the court should freely give leave

when justice so requires.” Hall v. City of Los Angeles, 697 F.3d 1059, 1073 (9th Cir.

2012) (citing Fed. R. Civ. P. 15(a)). “[T]his mandate is to be heeded.” Foman v.

Davis, 371 U.S. 178, 182 (1962). “If the underlying facts or circumstances relied

upon by a plaintiff may be a proper subject of relief, he ought to be afforded an

opportunity to test his claim on the merits.” Id. Dismissal without leave to amend is

proper only when the complaint cannot be saved by any amendment. See Doc’s

Dream, LLC v. Dolores Press, Inc., 678 F. App’x 541, 542 (9th Cir. 2017). Further,

a court’s refusal to grant leave to amend without justifying reason is an abuse of

discretion. See id.

      Despite Rule 15’s mandate, the District Court denied Plaintiff’s request for

leave to amend, reasoning that Plaintiff could not allege facts that could cure the

deficiency in the SAC. See 1-ER-6. In addition to the District Court’s erroneous



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ruling on the merits, the “with prejudice” aspect of the District Court’s dismissal was

an abuse of discretion.

      To start, the District Court abused its discretion in denying Plaintiff the

opportunity to amend because the SAC is, at the very least, a good faith attempt to

respond to the District Court’s previous dismissal on reliance grounds. Where an

amended complaint demonstrates an attempt to comply with the court’s previous

guidance, even if the amended complaint remains deficient, it is an abuse of

discretion to deny the plaintiff another opportunity to amend. See Eminence Capital,

LLC v. Aspeon, Inc., 316 F.3d 1048, 1053 (9th Cir. 2003) (reversing denial of leave

to amend and finding that “it is not accurate to imply that plaintiffs had filed multiple

pleadings in an attempt to cure pre-existing deficiencies” where their amended

complaint “included additional theories not previously alleged”). To the extent the

FAC alluded to deception by Defendant, the SAC was a good-faith effort to excise

allegations that could be construed as a misrepresentation theory. Though the

District Court failed to recognize that Plaintiff is not bringing any fraud-based

allegations against Defendant, there can be no doubt that Plaintiff was attempting to

allege that more clearly in the SAC. Plaintiff, therefore, should have been granted

further leave to amend to assert her chosen theory of the case.

      Further, the District Court’s single-sentence explanation for denying

Plaintiff’s request for leave to amend is not a justifying reason. This alone is an abuse


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of discretion under Ninth Circuit precedent. Tracht Gut, LLC, 836 F.3d at 1150 (“A

dismissal granted without leave to amend and with prejudice is reviewed for abuse

of discretion.”). Even assuming arguendo the District Court correctly ruled that

Plaintiff’s allegations in the SAC still sound in fraud, the Court gave no explanation

as to why the SAC could not be amended to remove any remaining allegations that

sound in fraud. The District Court did not reckon with the fact that even if the SAC

did not go far enough in excising any misrepresentation theory, amendment along

those lines would be possible, for example, to elucidate the nature and extent of

Plaintiff’s reliance prior to purchase of the Product. The Court offered no

explanation as to why that would be an impossibility. See, e.g., Brown v. Stored

Value Cards, Inc., 953 F.3d 567, 575 (9th Cir. 2020) (“We hold that the district court

abused its discretion when, without written explanation or opinion, it denied Brown

leave to file a third amended complaint, and Defendants suffer no significant

prejudice from amendment.”). This is particularly true where, as here, Plaintiff

alleges a violation of anti-tying provisions of the MMWA, which has nothing to do

with misrepresentation or deception.

      Even if this Court affirms the District Court’s dismissal of the operative

complaint, Plaintiff respectfully requests that this Court reverse that portion of the

District Court’s order dismissing Plaintiff’s claim with prejudice so that Plaintiff

may have an opportunity to amend to make clear this action does not sound in fraud.


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                                 CONCLUSION

      For the foregoing reasons, the Court should reverse the District Court’s order

granting Keurig’s Motion to Dismiss and remand for further proceedings.


Dated: December 6, 2024               Respectfully submitted,


                                       /s/ Gillian L. Wade
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                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

          Statement of Related Cases Pursuant to Circuit Rule 28-2.6


9th Cir. Case Number 24-5905

The undersigned attorney or self-represented party states the following:

[X] I am unaware of any related cases currently pending in this court.

[ ] I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

[ ] I am aware of one or more related cases currently pending in this court. The case
    number and name of each related case and its relationship to this case are:


Signature: s/ Gillian L. Wade           Date: December 6, 2024




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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 6, 2024, I electronically filed the foregoing

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